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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:13CR3115
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
JUSTIN LEE ORSTAD,                             )
                                               )
                     Defendant.                )

       The undersigned met with counsel of record and a United States Marshal. According
to Fed. R. Crim. P. 43(a)(3), the defendant must be present at his sentencing hearing.
Therefore, to allow the United States Marshals time to return the defendant to the district for
his sentencing hearing,

       IT IS ORDERED that the defendant’s sentencing is continued to Thursday, August
21, 2014, at 9:00-11:00 a.m., before the undersigned United States district judge, in
Courtroom No. 2, Robert V. Denney United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present for the
sentencing hearing.

       Dated August 12, 2014.

                                           BY THE COURT:

                                           Richard G. Kopf
                                           Senior United States District Judge
